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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF MARYLAND, NORTHERN DIVISION



JAMES RESPESS, Individually and as
Personal Representative of the Estate of
PATRICIA RESPESS,

                       Plaintiffs,                  Case No. 1:10-cv-02937-CCB

           v.
TRAVELERS CASUALTY & SURETY
COMPANY OF AMERICA et al.,
                       Defendants.


                   DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR
                  MOTION TO DISMISS THE COMPLAINT WITH PREJUDICE

           In accordance with Rule 12(b)(6) of the Federal Rules of Civil Procedure and Local Rule

105, Defendants Travelers Casualty & Surety Company of America (“Travelers Casualty”) and

the Travelers Indemnity Company (“Travelers Indemnity”) (together, “Defendants”) submit this

memorandum in support of their motion to dismiss all counts of the Complaint for failure to state

a claim.

                                         INTRODUCTION

           This case involves the administration of workers’ compensation benefits.      In 1987,

Patricia Respess was assaulted at work and she pursued a workers’ compensation claim. For

many years, Defendants paid for the treatment of her psychiatric conditions resulting from the

assault.        In January 2008, Mrs. Respess experienced another psychiatric episode and was

hospitalized for almost four months. On April 25, 2008, doctors at Sheppard Pratt discharged




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Mrs. Respess who returned home with Plaintiff James Respess. A few days later, Defendants

denied requests to pay for her 24-hour supervised care. Mrs. Respess did not seek further

medical attention and remained at home. Five days later, Mrs. Respess committed suicide.

        The decedent is survived by her husband, Plaintiff James Respess, who alleges that

Defendants’ failure to approve payment for medical treatment was extreme and outrageous, done

with malice, and resulted in severe emotional distress causing Mrs. Respess to commit suicide.

The Complaint, however, lacks any facts to support these conclusory statements. Stripped of its

labels, this action merely challenges Defendants’ claims handling. The Complaint should be

dismissed in its entirety for several reasons:

             The Complaint lacks any factual allegations of “extreme and outrageous” conduct

              necessary to state a claim for intentional infliction of emotional distress.

             Defendants’ decision to deny authorization of payment was not for the purpose of

              causing the decedent’s suicide.

             Maryland law does not recognize a cause of action for grossly negligent infliction of

              emotional distress.

             Defendants do not owe any tort duties to Plaintiff or decedent.

             Defendants’ denial of authorization to pay for medical benefits was not the

              proximate cause of decedent’s death.

             The denial of workers’ compensation benefits is governed exclusively by the

              Workers’ Compensation Act.

             Defendants’ liability is limited by the Workers’ Compensation Act.




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                                           BACKGROUND1

        The decedent, Patricia Respess, was married to Plaintiff James Respess. In 1987, while

working for National Medical Care, Inc., Mrs. Respess was physically and sexually assaulted at

work. Compl. ¶ 7. As a result of the assault, Mrs. Respess experienced numerous psychiatric

conditions and she pursued a workers’ compensation claim. Id. at ¶¶ 7, 8.

        Defendants Travelers Casualty and Travelers Indemnity are insurance companies who

insured National Medical Care, Inc. and provided workers’ compensation benefits to Mrs.

Respess over many years.2 Id. at ¶¶ 8, 10. Defendants are not medical professionals and do not

provide medical services.

        Beginning in or around 1999/2000, Mrs. Respess received psychiatric treatment which

continued until May 2008. Id. at ¶¶ 9, 10. Defendants approved and paid for such treatment in

connection with her workers’ compensation claim. Id. at ¶ 10. During this eight year period,

Mrs. Respess’ psychiatric conditions were in and out of remission. Id. at ¶ 11.

        On or about January 2, 2008, Mrs. Respess experienced another psychiatric episode and

was admitted to the Mental Health Facility at Peninsula Regional Medical Center for depression,

anxiety and flashbacks. Id. ¶ 12. She was treated and then transferred to an in-patient Trauma

Disorders Program at Sheppard Pratt hospital. Id. She remained at Sheppard Pratt and continued

to receive treatment for over three months from January 23, 2008, through April 25, 2008. Id. at


1
  Defendants repeat the facts as alleged by Plaintiffs treating them as true – as required – for purposes of
this motion to dismiss only.
2
  Travelers Casualty and Travelers Indemnity are separate corporate entities although Plaintiff improperly
lumps them together in the Complaint as “Defendants.” See, e.g., Compl. ¶ 2.



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¶¶ 13, 14. In accordance with her workers’ compensation claim, Defendants paid for this care.

Id. at ¶ 10.

        Throughout her hospitalization at Sheppard Pratt, Mrs. Respess expressed thoughts of

suicide to her physicians and counselors. Id. at ¶¶ 16, 17. She also was treated for anxiety,

depression and flashbacks. Id. at ¶ 15. Four days before being discharged, Mrs. Respess told her

doctors and counselors that she did not want to go home because of concerns about her

outpatient medical care. Id. at ¶ 18. Plaintiff also raised concerns to counselors at Sheppard

Pratt about Mrs. Respess returning home, and he requested that she be placed in a step-down

facility instead. Id. at ¶ 20. Notwithstanding these concerns, on April 25, 2008, Mrs. Respess

was discharged from Sheppard Pratt and she returned home with Plaintiff. Id. at ¶¶ 19, 20.

        On April 30, 2008, a home health care nurse visited and examined Mrs. Respess. Id. at ¶

21. The nurse determined that Mrs. Respess was anxious, depressed and had thoughts of

suicide—which are the same conditions Mrs. Respess’ doctors and counselors observed while

she was at Sheppard Pratt just days earlier. Compare id. at ¶ 25, with id. at ¶¶ 15, 16. The nurse

opined that Mrs. Respess required 24-hour supervision because she continued to express ideas of

suicide. Id. at ¶ 26. The nurse contacted Defendants seeking authorization to pay for 24-hour

supervised care. Id. at ¶ 27. No authorization was given. Id.

        Also on April 30, 2008, the nurse called Dr. Book, a psychiatrist who had previously

treated Mrs. Respess, and asked him to seek Defendants’ authorization to pay for 24-hour

supervised care. Id at ¶ 28. Based solely upon that conversation (and without conducting any

exam of Mrs. Respess), Dr. Book called Defendants asking for authorization.              Id.   No

authorization was given. Id. at ¶ 29. Plaintiff alleges that Defendants refused the requests



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because they “did not believe that Mrs. Respess suffered from PTSD as diagnosed by her

psychiatrist.” Id. at ¶ 32. Plaintiff also wrote a letter to Sheppard Pratt requesting that his wife

be placed in a residential setting with 24-hour care. Id. at ¶ 31. Mrs. Respess was not taken to

the hospital or admitted for treatment; she remained at home and her condition reportedly

declined. Id. at ¶ 30.

        On May 5, 2008, Mrs. Respess took an overdose of blood pressure medication. Id. at ¶

33. She left a suicide note mentioning the Defendants. Id. at ¶ 34. Mrs. Respess went into a

coma and died on May 9, 2008. Id. at ¶ 35.

        Plaintiff filed the instant lawsuit in his individual capacity and on behalf of the decedent.

The Complaint alleges, inter alia, intentional infliction of emotional distress (Count 1), gross

negligence (Count 2), and wrongful death (Count 3) arising from Defendants’ failure to approve

the payment of 24-hour care for the decedent.             In an attempt to avoid the Workers’

Compensation Act, Plaintiff contends that the refusal was extreme, outrageous, malicious, willful

and intentional and seeks to recover compensatory and punitive damages for emotional distress

allegedly suffered both by him and the decedent.

                  STANDARD OF REVIEW FOR MOTION TO DISMISS

        A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) tests a complaint’s

legal sufficiency. Edwards v. City of Goldsboro, 178 F.3d 231, 243 (4th Cir. 1999). The court is

not bound by plaintiff’s legal conclusions couched as factual allegations. Papasan v. Allian, 478

U.S. 265, 286, 106 S. Ct. 2932 (1985); Young v. City of Mount Ranier, 238 F.3d 567, 577 (4th

Cir. 2001). The alleged grounds for relief must provide “more than labels and conclusions, and a

formulaic recitation of the elements of a cause of action will not do.” Proctor v. Metropolitan



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Money Store Corp., 579 F. Supp. 2d 724, 730 (D. Md. 2008) (quoting Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 127 S. Ct. 1955, 1964-65 (2007) (internal quotations omitted)).

“Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.” Ashcroft v. Iqbal, __ U.S. ___, ___, 129 S. Ct. 1937, 1949-50

(2009). Furthermore, “where the well-pleaded facts do not permit the court to infer more than

the mere possibility of misconduct, the complaint has alleged – but has not ‘show[n]’ – that the

pleader is entitled to relief.” Id. at 1950 (quoting Fed. R. Civ. P. 8(a)(2) (alteration in original)).

Allegations that are “no more than conclusions [] are not entitled to the assumption of truth.” Id.

Moreover, allegations that are merely consistent with unlawful conduct, without more, will not

survive a motion to dismiss, especially where the same conduct is more likely explained by

lawful behavior.” Id. (citing Twombly, 550 U.S. at 567).

                                           ARGUMENT

I.      Plaintiff Has Failed to State a Claim for Intentional Infliction of Emotional Distress.

        Under Maryland law, “the tort of intentional infliction of emotional distress is rarely

viable.” Farasat v. Paulikas, 32 F. Supp. 2d 244, 247 (D. Md. 1997) (emphasis added). See also

Waldrop v. Science Applications Int’l Corp., AW 10-cv-0328, 2010 WL 2773571 (D. Md. July

13, 2010) (granting motion to dismiss claim for intentional infliction of emotional distress);

Asafo-Adjei v. First Savings Mortgage Corp., RWT 09-cv-2184, 2010 WL 730365 (D. Md. Feb.

25, 2010) (same); Tavakoli-Nouri v. State, 139 Md. App. 716, 779 A.2d 992 (2001) (affirming

dismissal of intentional infliction of emotional distress cause of action for failure to state a

claim); Borchers v. Hrychuk, 126 Md. App. 10, 727 A.2d 388 (1999) (affirming dismissal of

intentional infliction of emotional distress cause of action for failure to state a claim); Hamilton



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v. Ford Motor Credit Co., 66 Md. App. 46, 61, 502 A.2d 1057 (1986) (granting j.n.o.v. and

dismissing intentional infliction of emotional distress claim). To state a claim, the following

elements must be alleged and proved with specificity:

                  (1) The conduct must be intentional or reckless;
                  (2) The conduct must be extreme and outrageous;
                  (3) There must be a casual connection between the wrongful
                  conduct and the emotional distress; and
                  (4) The emotional distress must be severe.

Harris v. Jones, 281 Md. 560, 566, 380 A.2d 611 (1977). “[E]ach of these four requirements

must be satisfied completely before a cause of action will lie,” and that determination shall be

decided initially by the court. Hamilton, 66 Md. App. at 58, 502 A.2d at 1063.

        A.        Defendants’ Alleged Conduct Was Not Extreme and Outrageous.

        “Outrageousness” is the crux of intentional infliction of emotional distress.          A

defendant’s conduct is “outrageous” if it is “so extreme in degree, as to go beyond all possible

bounds of decency, and to be regarded as atrocious, and utterly intolerable in a civilized

community.” Batson v. Shiflett, 325 Md. 684, 734, 602 A.2d 1191, 1216 (1992). The alleged

conduct “must completely violate human dignity . . . and strike to the very core of one’s being,

threatening to shatter the frame upon which one’s emotional fabric is hung.” Hamilton, 66 Md.

App. at 59-60, 502 A.2d 1057. As recognized by the Maryland Court of Appeals, claims for

intentional infliction of emotional distress only have been upheld three times where the conduct

was utterly intolerable – a psychologist who had sex with plaintiff’s wife while providing

marriage counseling therapy; a doctor who had sex with his nurse but did not disclose that he had

herpes; and an insurer who demanded that a claimant subject herself to an examination for the

sole purpose of causing her to abandon the claim or commit suicide. Baston, 325 Md. at 734,



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602 A.2d at 1216 (discussing cases).       Dismissal is appropriate where the specific factual

allegations do not support extreme and outrageous conduct. See, e.g., Farast, 32 F. Supp. 2d at

248 (granting motion to dismiss claim for failure to sufficiently allege extreme and outrageous

conduct); Dickson v. Selected Risks Ins. Co., 666 F. Supp. 80, 81 (D. Md. 1987) (granting

insurance company’s motion to dismiss because the alleged refusal to provide coverage was not

extreme and outrageous and finding that the claim was “frivolous.”); Borchers, 126 Md. App. at

20, 727 A.2d at 393 (affirming dismissal for failure to state a claim where pastor seduced a

clergy member into having sex using her emotional vulnerability and other confidential

information because such conduct was not extreme and outrageous).

        Defendants’ handling of Mrs. Respess’ workers compensation claim was not extreme and

outrageous. It is undisputed that Defendants’ refusal to pay for 24-hour care was not deliberately

intended to cause decedent’s suicide.       Rather, Plaintiff alleges that Defendants refused

authorization because they did not agree with the diagnosis. Compl. ¶ 32. That allegation is

patently inconsistent with extreme and outrageous conduct. Indeed, other allegations in the

Complaint support a reasonable basis for Defendants’ decision not to approve payment for the

24-hour care. For example:

       Decedent’s psychiatric conditions were in and out of remission for over eight years, with
        repetitive episodes of anxiety, depression and thoughts of suicide.

       There was nothing extraordinary about Mrs. Respess expressing thoughts of suicide. She
        previously had reported thoughts of suicide but never acted on them.

       There was nothing extraordinary about Mrs. Respess living at home. She had done so for
        many years. Indeed, even the medical professionals at Sheppard Pratt determined that
        she could live at home over her and Plaintiff’s objections.




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       Decedent was treated at the Mental Health Facility at Peninsula Regional Medical Center
        and the Trauma Disorders Program at Sheppard Pratt from January 2008, through April
        2008. During that time, she reported thoughts of suicide and expressed concern about
        being discharged. Notwithstanding these reports and concerns, the treating medical
        professionals determined that Mrs. Respess was okay to return home with Plaintiff. If
        thoughts of suicide urgently required 24-hour supervision, Mrs. Respess would not have
        been discharged.

       If Mrs. Respess was actively suicidal and that fact was made known to her psychiatrist,
        then he could have had her admitted to an emergency room or inpatient facility. He did
        not do so.

       The health care nurse observed similar conditions to those observed by the medical
        professionals at Sheppard Pratt. The only difference is that the medical professionals at
        Sheppard Pratt determined (after three months of treatment) that Mrs. Respess did not
        need 24-hour supervised care and could be at home, while the heath care nurse reached a
        different conclusion.

        In light of the decedent’s medical history and the conflicting medical opinions regarding

treatment, Defendants’ decision to deny payment for 24-hour care was not extreme and

outrageous. Plainly, Defendants had paid for decedent’s medical treatment for many years in

connection with her workers’ compensation claim dating back to 1987, and they continued to

pay for required treatment under applicable workers’ compensation law. In this instance, there

was a conflict among the medical professionals over the appropriate treatment for Mrs. Respess.

The decision to deny benefits under these circumstances does not “completely violate human

dignity,” or “go beyond all possible bounds of decency” and is neither “atrocious” nor “utterly

intolerable.”3 Accordingly, Plaintiff’s failure to allege facts showing “extreme and outrageous”




3
 The refusal to pay for treatment did not prevent Mrs. Respess from seeking and obtaining supervised
care—there are options available if a person is actively suicidal which do not involve considerations of
who or how to pay for the treatment.



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conduct mandates dismissal of the intentional infliction of emotional distress claim with

prejudice.4

        B.        Defendants’ Refusal to Approve Workers’ Compensation Benefits Does Not
                  Give Rise to an Intentional Tort.

        Gallagher v. Bituminous Fire and Marine Ins. Co., 303 Md. 201, 492 A.2d 1280 (1985),

involved a similar attempt to sue for intentional infliction of emotional distress arising from an

insurer’s handling of workers’ compensation benefits. The claimants alleged that the insurer’s

withholding of payment was willful, malicious and done to discourage them from securing

benefits under the Workers’ Compensation Act. Id. at 206, 492 A.2d at 1282. The Complaint

further alleged that the insurer’s conduct was “gross negligence of the highest magnitude,”

“offensive to public policy” and carried out with “actual and implied malice,” causing

humiliation, emotional distress and problems with claimants’ credit. Id. The Court of Appeals

rejected claimants’ allegations finding that an insurer’s exercise of statutory duties under the

Workers’ Compensation Act does not give rise to extreme and outrageous conduct. Id. at 212,

492 A.2d 1285. Accordingly, the court affirmed the dismissal of a claim for intentional infliction




4
  Plaintiff also does not allege facts to support the other elements of intentional infliction of emotional
distress. Besides using the labels “intentional or reckless” the Complaint does not allege any facts of such
conduct. With respect to Plaintiff’s individual claims, the Complaint again only contains conclusory
allegations that Plaintiff suffered “severe emotional distress.” These pleading failures are additional,
independent reasons for dismissing the claim. Waldrop, 2010 WL 2773571, at *5 (granting motion to
dismiss where plaintiff failed to plead with particularity what emotional distress she suffered, how long it
lasted, how severe it was or whether she sought medical treatment); Asafo-Adjei, 2010 WL 730365, at * 5
(dismissing claim and finding the plaintiff failed to describe with particularity the emotional distress
allegedly suffered); Tavakoli-Nouri, 139 Md. App. at 729, 779 A.2d at 1000 (affirming dismissal because
no facts showing severely disabling emotional response); Manikhi, 360 Md. at 370, 758 A.2d at 115
(affirming dismissal because Complaint failed to state with reasonable certainty the nature, intensity or
duration of the alleged emotional injury).



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of emotion distress. Id. See also Dickson, 666 F. Supp. at 81 (holding that the refusal to provide

insurance benefits was not extreme and outrageous).

        Faced with similar allegations, the Colorado Court of Appeals recently held that

deliberately refusing to provide workers’ compensation benefits—even if in bad faith—does not

give rise to an intentional tort or make an insurer liable for a claimant’s suicide. Moore v.

Western Forge Corp., 192 P.3d 427 (Colo. Ct. App. 2008).              There, the claimant committed

suicide after receiving notice contesting his workers’ compensation claim. Plaintiff alleged that

the claims administrator’s bad faith denial of benefits caused the suicide. The court disagreed

finding no legal authority for the proposition that a breach of an insurer’s duty of good faith and

fair dealing “could lead to liability for the suicide of an insured.” Id. at 433. The court further

concluded that “a claim for outrageous conduct must be based upon action that is more egregious

than either the conduct underlying a bad faith breach of contract claim or a willful and wanton

breach of contract claim.” Id.       Moreover, unless the insurer deliberately intends to cause

emotional distress or physical injury, the court found that the intentional tort approach should not

apply to the handling of a workers’ compensation claim. Id. at 433-34 (the intentional tort

approach “is applicable only where the actor intended to cause injury, and the injury is a

substantial factor in bringing about the suicide. . . if the suicide can be shown to have been

caused by the type of injury that the defendants intended to inflict . . .”).

        Like the holdings in Gallagher and Moore, here too there is no legal or factual basis for

intentional tort liability for the Defendants’ refusal to approve workers’ compensation benefits.




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II.     Plaintiff’s Claim for Gross Negligence Should be Dismissed.

        A.        There Is No Cause of Action for Grossly Negligent Infliction of Emotional
                  Distress.

        Plaintiff alleges that Defendants’ gross negligence caused “severe and extreme emotional

distress.” Compl. ¶ 49. No such cause of action exists under Maryland law. See, e.g., Hamilton,

66 Md. App. at 63, 502 A.2d at 1066 (“We cannot imagine any acts opprobrious enough to

justify an award of damages solely for the infliction of emotional distress that would satisfy the

definition of reckless conduct encompassed by the concept of intentional infliction of emotional

distress.”). Maryland courts have repeatedly rejected attempts to recover for emotional distress

damages based upon anything less than extreme and outrageous conduct. Abrams v. City of

Rockville, 88 Md. App. 588, 594, 596 A.2d 116, 118 (1991).

        B.        Plaintiff Has Failed to Allege Sufficient Facts to State a Claim for Gross
                  Negligence.

        Even assuming arguendo that emotional distress allegedly caused by gross negligence

gives rise to a viable cause of action (which it does not), Plaintiff still has failed to state a claim.

        Gross negligence “implies malice and evil intention.” Floor v. Juvenile Servs. Admin., 78

Md. App. 151, 170, 552 A.2d 947, 956 (1989) (quoting Bannon v. B. & O. R.R. Co., 24 Md. 108,

124 (1866)). Deliberateness lies at the core of gross negligence. McCoy v. Hatmaker, 135 Md.

App. 693, 763 A.2d 1233 (2000).             The Maryland Court of Appeals has described gross

negligence as:

                  An intentional failure to perform a manifest duty in reckless
                  disregard of the consequences as affecting the life or property of
                  another, and also implies a thoughtless disregard of the
                  consequences without the exertion of any effort to avoid them.
                  Stated conversely, a wrongdoer is guilty of gross negligence or



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                  acts wantonly and willfully only when he inflicts injury
                  intentionally or is so utterly indifferent to the rights of others that
                  he acts as if such rights did not exist.

Romanesk v. Rose, 248 Md. 420, 423, 237 A.2d 12 (1968) (emphasis added). See also Marriott

Corp. v. Chesapeake & Potomac Tel. Co. of Md., 124 Md. App. 463, 478, 723 A.2d 454, 461

(1998). Considering this heightened standard, a claim for gross negligence must be pled with

particularity—“bald and conclusory allegations will not suffice.” Floor, 78 Md. App. at 170,

552 A.2d at 956 (affirming dismissal of gross negligence where allegations lacked specificity).

                  1.     Defendants Did Not Owe Any Duty in Tort to Plaintiff or Decedent.

        The existence of a legal duty is for the court to decide as a matter of law. Doe v.

Pharmacia & Upjohn Co., 388 Md. 407, 414, 879 A.2d 1088, 1092 (2005). “At its core, the

determination of whether a duty exists represents a policy question of whether the plaintiff is

entitled to protection from the defendant.” Id. The following factors should be considered:

                  The forseeability of harm to the plaintiff, the degree of certainty
                  that the plaintiff suffered the injury, the closeness of the
                  connection between the defendant’s conduct and the injury
                  suffered, the moral blame attached to the defendant’s conduct, the
                  policy of preventing future harm, the extent of the burden to the
                  defendant and consequences to the community of imposing a duty
                  exercise care with resulting liability for breach, and the
                  availability, cost and prevalence of insurance for the risk involved.

Id. (citations and quotation omitted).




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        Plaintiff alleges that “Defendants had a duty to employ reasonable measures in the

managing the medical and psychiatric treatment of Patricia Respess pursuant to the worker’s

compensation claim.” Compl. ¶ 45. Plaintiff is wrong because no such duty exists.5

        Defendants are not medical professionals and do not provide medical services. They do

not decide a claimant’s medical and psychiatric treatment. Defendants are insurers who handle

claims and administer benefits. Decedent had a number of medical professionals who provided

her care and treatment. Defendants paid for such treatment; they are not responsible for the

medical decisions made by decedent’s doctors. Flood v. Merchants Mutual Ins. Co., 230 Md.

373, 377, 187 A.2d 320, 322 (1963).

        Defendants likewise did not owe any duty to prevent decedent’s suicide. As recognized

by the Colorado Court of Appeals, “the burden on claims administrators to guard against suicide

would be extremely high because they would be required to make judgments about the mental

health of insureds. Claims administrators do not have special expertise or professional training

with which to make such judgments.” Moore, 192 P.3d at 435. See also, e.g., English v.

Griffith, 99 P.3d 90, 94 (Colo. Ct. App. 2004) (rejecting claim that there exists “a duty not to

cause the decedent to experience an uncontrollable impulse to commit suicide.”); Chalhoab v.

Dixon, 788 N.E.2d 164, 167 (Ill. App. 6th Dist. 2003) (finding no duty to prevent suicide, in part,

because “laypeople cannot be reasonably expected to anticipate the mental health consequences

of their acts or omissions.”); Webstad v. Stortini, 924 P.2d 940 (Wash. App. 1996) (“no duty

exists to avoid actions or omissions that lead another person to commit suicide”). Maryland only


5
 Plaintiff makes no allegation that Defendants owed him any duty and therefore Plaintiff cannot state a claim for
gross negligence.




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recognizes two situations where a party may be liable for the suicide of another—and neither

situation exists here. Sindler v. Litman, 166 Md. App. 90, 111, 887 A.2d 97, 109 (2005).

        The only duties owed by Defendants to the decedent are those expressly set forth in the

insurance contract with National Medical Care, Inc. and as required by Maryland’s Workers’

Compensation Act. Any allegations that Defendants failed to meet those duties is remedied

exclusively under Workers’ Compensation statutory law, not tort law. Accordingly, absent any

duty, Plaintiff’s claim for gross negligence should be dismissed with prejudice.

                  2.   Defendants’ Alleged Conduct Does Not Constitute Gross Negligence.

        Even assuming a duty, there are no facts in the Complaint that constitute gross

negligence. Wells v. State, 100 Md. App. 693, 642 A.2d 879 (1994) illustrates the heightened

requirements for gross negligence. There, the plaintiff sued the Department of Social Services

and individual employees for failing to prevent the repeated infliction of abuse by his mother and

her boyfriend that occurred over many years. That abuse also lead to the death of plaintiff’s

sister. The court described the complaint as “a saga of physical abuse suffered by [] defenseless

children throughout most of their lives, leading ultimately to the torture and death of Myeshia at

the age of nine, and a deeply disturbing dereliction on the part of DSS in failing to take effective

remedial action when there existed within the Department adequate warning that the children—

especially Myeshia—were at risk.” Id. at 698, 642 A.2d at 881. Nevertheless, the court held that

plaintiffs failed to state a claim for gross negligence finding that the allegations do not indicate

“malice, evil intention, or wanton, willful, or reckless disregard for human life or the rights of

other.” Id at 705-06, 642 A.2d at 885. The court also refused to accept as true the conclusory




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statement that the defendants’ acts or omissions “were committed willfully, wantonly, and with

reckless disregard of [plaintiff’s] rights.” Id. at 703, 642 A.2d 884.

        Similar to the deficient pleading in Wells, Plaintiff’s Complaint merely consists of

conclusory allegations that Defendants conduct was “wanton, extraordinary, outrageous and in

utter disregard” for Mrs. Respess’ life (Compl. ¶ 48), and is devoid of any facts to support such

allegations.6

         C.       Defendants’ Alleged Conduct Did Not Proximately Cause the Decedent’s
                  Suicide.

        Plaintiff contends that Defendants caused his wife’s suicide; however, “suicide is an

independent superseding act or, in any event, not proximately caused by the negligent act, which

precludes imposing liability on a third party for the suicide of another.” Sindler, 166 Md. App.

at 113, 887 A.2d at 110. See also Moore, 192 P.3d at 435-37 (finding that there is no liability for

suicide based only on actual causation and that “[b]ecause suicide is usually treated as a

voluntary and willful choice” there is no proximate causation). Even assuming that Defendants’

refusal to pay for treatment was somehow grossly negligent and assuming the decision caused

decedent’s emotional distress, her voluntary act of suicide breaks the chain of proximate


6
  The Complaint suffers from additional pleading deficiencies that mandate dismissal. For example,
Plaintiff improperly lumps together Travelers Indemnity and Travelers Surety, referring to the distinct
legal entities as a single unit: “Defendants.” Compl. ¶ 2. Plaintiff makes bald, overbroad, and sweeping
allegations against “Defendants” that fail to distinguish between what each entity did (or did not do), how
each participated in the distinct alleged acts. Critically, Plaintiff’s claims are based on the doctrine of
respondeat-superior yet fail to identify the principal or agent and it cannot be that both defendants
together committed each particular act as alleged repeatedly throughout the Complaint, or that they both
caused the alleged emotion distress. Proctor, 579 F. Supp. 2d at 744 (granting motion to dismiss and
holding that “[t]he Court cannot permit Plaintiffs to go forward on a claim based on factual allegations in
which basic questions of who did what are completely unclear.”); Asafo-Adjei, 2010 WL 730365, at * 5
(dismissing claim and finding the plaintiff failed to identify which defendants caused his emotional
distress).



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causation necessary to state a claim. Accordingly, Plaintiff cannot establish causation as a matter

of law.

III.      The Remedies Set Forth In Maryland’s Workers’ Compensation Act Are
          Exclusive.

          Plaintiff’s dispute that Defendants acted wrongfully in failing to authorize workers’

compensation benefits falls under the decision making authority of the Workers’ Compensation

Commission. According to the Court of Appeals, “[i]f there are issues between insurer and

claimant over a termination or nonpayment of benefits, they may be resolved before the

Commission. . . . We will not judicially create such a cause of action.” Gallagher, 303 Md. at

211, 492 A.2d at 1284. The court expressly adopted the reasoning that:

                  [A]ppellant’s complaint does no more than allege a
                  nonperformance of a statutory duty to provide temporary disability
                  benefits . . . . Such a complaint which does not contain factual
                  allegations identifying the particular acts or circumstances which
                  distinguish the tort of outrageous conduct from an ordinary
                  nonperformance of a statutory duty owed by respondent to
                  appellant is insufficient.

Id. (citations omitted). Here too, the Workers’ Compensation Act governs an insurer’s conduct.

For example, Section 9-660(b) provides that an insurer is obligated to pay for medical services

and treatment necessary for the claimant’s injury. Md. Code, Labor and Employment § 9-

660(b). If an insurer fails to properly make payment, the Workers’ Compensation Commission

may order the insurer to pay a fine and interest. Id. at § 9-664.

          Because insurers are subject to the Workers’ Compensation Act, they are immune from

tort liability for alleged failures during the claims handling process. Donohue v. Maryland

Casualty Co., 248 F. Supp. 588, 592 (D. Md. 1965) (“Maryland equates liability on the part of a




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person to pay workmen’s compensation benefits to an immunity of that person from suit for tort

liability.”); Flood v. Merchants Mutual Ins. Co., 230 Md. 373, 377, 187 A.2d 320, 322 (1963)

(“the Workmen’s Compensation Act is a substitute for the employer’s common law liability for

negligence, subject to his common law defenses, and creates an absolute, but limited, liability

regardless of fault, such liability upon a conforming employer being exclusive. . . . the insurance

carrier [shall] stand in the position of the employer.”). For example, in Flood, the claimant

alleged that the workers’ compensation insurer failed to exercise a reasonable degree of

intelligence, skill and ability in the selection of the treating physicians and sought to impute the

doctor’s alleged malpractice. Id. at 376, 187 A.2d at 322. Affirming the trial court’s dismissal,

the Court of Appeals concluded that the insurer was immune from tort liability under the

Workers’ Compensation Act. Id. See also Gallagher, 303 Md. at 210, 492 A.2d at 1283-84

(“[T]he intentional delay of workers’ compensation payments does not give rise to an

independent, intentional tort action against the employer or the insurer where a penalty for such

delay is provided by the Act.”). Furthermore, to the extent that the refusal of benefits impacted

Mrs. Respess’ psychiatric condition, that condition was the subject of an existing workers’

compensation claim. Accordingly, even assuming that Defendants somehow erred in refusing to

pay for treatment, the Workers’ Compensation Commission has exclusive jurisdiction over such

conduct, Defendants are immune from any tort liability, the Workers’ Compensation Act

provides an exclusive remedy, and this Court should not judicially create a new cause of action.




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                                     CONCLUSION

        For the reasons stated, Defendants Travelers Casualty & Surety Company of America

and the Travelers Indemnity Company of America request this Court to dismiss the Complaint

with prejudice.



Dated: November 1, 2010                                   /s/
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